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                           IN THE UNITED STATES DISTRICT COURT-
                           FOR THE EASTERN DISTRICT OF VIRGINIA                       i\l CiiL   ● 'i.'^T
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                                       Norfolk/Newport News Division                                        ■'~1


UNITED STATES OF AMERICA,

V.                                                          CRIMINAL NO; 2:25ciT0


Dominic Nathaniel Torres


                               SENTENCING PROCEDURES ORDER

         1.      The sentencing hearing shall be scheduled no earlier than ONE HUNDRED TWENTY

(120) DAY'S following a plea of guilty or verdict of guilty, and sentencing is scheduled in this case on

                                              at            in ( X ) Norfolk (_) Newport News.

         2.      Counsel for the defendant is hereby given notice of the right to attend any interview of

the defendant conducted by the Probation Officer in the course of the presentence investigation.

Failure of counsel to immediately notify the probation officer within TPIREE (3) DAYS of the guilty

verdict or plea of the intention to be present at such interviews shall be deemed by the Court to be a

waiver of same.


         3.      The Presentence Investigation Report, including guideline computations, shall be

completed and provided to the parties at least TlilRTY-FIVE (35) DAYS prior to the sentencing

hearing.      A copy of this policy statement shall operate as notice to counsel that the presentence

report will be furnished by the Probation Office TPIIRTY-FIVE (35) DAYS prior to the sentencing

hearing. A copy of the presentence report may not be disclosed to persons other than the defendant.

         4.      If, after a review of the presentence report, there are no factors or facts material to

guideline computations in dispute, counsel shall file a stipulation signed by the defendant and all

counsel within FOURTEEN (14) DAYS after receiving the presentence report.

         5.      A party objecting to guideline determinations or facts in the presentence report shall

deliver a written statement to the Probation Officer and opposing counsel within FOURTEEN (14)


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DAYS after receiving the presentence report setting forth any objections and any authorities relied

upon.


        6.    It is the obligation of the objecting party to seek resolution of such objections in

conference with opposing counsel and the United States Probation Officer as soon as practicable, but

no less than TEN (10) DAYS prior to the sentencing hearing.             This presentence conference is

mandatory when objections effecting guideline computations are in dispute, and it is the

responsibility of the objecting party to schedule it with the Probation Officer and opposing counsel.

        7.    Counsel for the defendant and the government shall file a pleading entitled “Position

of Parties with Respect to Sentencing Factors,” (“Position Paper”) SEVEN (7) DAYS prior to the

sentencing hearing. The Position Paper shall include all objections to the presentence report and the

grounds therefor, in accordance with Section 6A1.3 of the Sentencing Guidelines.         The Position


Paper must include case         law and analysis with respect to the disputed Guidelines


calculations or any other obiections identified by counsel. Failure to adhere to this order

may result in a continuance of the sentencing hearing or waiver of unargued objections.


A copy shall be delivered to the Probation Officer on the date of filing.

        8.    Whether or not there are objections or other disputed issues, defense counsel and

counsel for the government shall include within the above-referenced Position Paper their positions

with respect to the sentencing factors and reasons supporting the requested sentence, including any

relevant case law. Any exhibits to the Position Paper, including Character Letters, victim impact

statements, photographs, etc., must also be submitted by this deadline. The Court may, in its

discretion, decline to consider any exhibits submitted out of time.

        9.    If evidence is sought to be presented at the sentencing hearing, the parties shall file

as a part of their “Position Paper” an outline of such evidence, including:

        (a)   For cases where         the defendant pleaded guilty:           (1) description of the

testimony of anv witnesses sought to be called; (2) all documents, including charact^

letters, photographs, or       any   other material      relevant to    any possible obiections or
                                                    2
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discussion of § 3553(a) factors, and (3) any affidavits. This shall also include any other


evidence Parties intend to rely on at the sentencing hearing. Failure to adhere to this


request mav result in a continuance of the sentencing hearing.


       (b)     For cases where the defendant was convicted by iurv: (1) a svunmarv of and


citation to anv relevant trial testimony: (2) a summary of and citation to any relevant


trial exhibits; and (3) any other relevant evidence listed in Section 9(a) of this Order,


       Failure    to   adhere   to   this   requirement    mav    result    in    a   continuance   of the

sentencing hearing.        Continued failure to comply with this timeline or anv of the

requirements      articulated    herein     mav   result   in   admonishment          of counsel,   and   if

warranted, sanctions. A copy shall also be filed with the Probation Officer.               The Court may

resolve objections upon the submissions of the parties and will hear witness testimony only for good

cause shown.


       10.     The United States Probation Officer shall         transmit   to the sentencing judge the

presentence investigation report, including guideline computations, and an addendum indicating

any unresolved objections by the parties with respect to the application of the guidelines SEVEN (7)

DAYS prior to the sentencing hearing.

       11.     All motions for upward or downward departure, responses, and rebuttal shall be filed

and served FOURTEEN (14) , SEVEN (7), and FOUR (4) DAYS, respectively, before the sentencing

date. A copy shall also be delivered to the Probation Officer on the same dates.

       12.   Failure of counsel to adhere to the times set forth in this Order shall result in written


notification to the Court by the Probation Officer, with a copy provided to all counsel.

       13.     The times set forth in this Order may be modified by the Court for good cause shown.

Time periods under this Order shall be CALENDAR days; no extra days for mailing shall be

permitted. Except for the Presentence Investigation Report itself, all papers and pleadings may be

filed and served on opposing counsel and the Probation Officer by facsimile mail or email, provided

that such papers and pleadings bearing one original signature are simultaneously served by regular
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mail.   In computing any period of time under this Order in which filing must be made at least a

certain number of days before an event, if any deadline falls on a Saturday, Sunday, or holiday, the

deadline shall be the FIRST BUSINESS DAY before the Saturday, Sunday, or holiday.


        IT IS SO ORDERED.




                                                           Douglas E. Miller, US hlagistrate Judge

Date:     ^ /15/ ^5

I    HEREBY     ACKNOWLEDGE           RECEIPT        OF     A   COPY       OF   THE   SENTENCING
PROCEDURES ORDER.




DEFENDANT^                                                 DATE




COUNSEL FOR DEFENDANT                                      DATE




                                                                       i
COUNSEL FOR THE UNITED STATES                              DATE




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